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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

                                         )
  BABY DOE, A CITIZEN OF AFGHANISTAN )
  CURRENTLY RESIDING IN NORTH            )             Civil Action No. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          )
  FRIENDS, JOHN AND JANE DOE; AND        )
  JOHN AND JANE DOE, CITIZENS OF         )             Judge Norman K. Moon
  AFGHANISTAN AND LEGAL GUARDIANS )
  OF BABY DOE,                           )             Magistrate Judge Joel C. Hoppe
                                         )
                             Plaintiffs, )
                                         )
                      v.                 )
                                         )
  JOSHUA MAST, STEPHANIE MAST,           )
  RICHARD MAST, KIMBERLEY MOTLEY, )
  AND AHMAD OSMANI,                      )
                                         )
                             Defendants, )
                                         )
                      and                )
                                         )
  UNITED STATES SECRETARY OF STATE )
  ANTONY BLINKEN AND UNITED STATES )
  SECRETARY OF DEFENSE GENERAL           )
  LLOYD AUSTIN,                          )
                             Nominal     )
                             Defendants. )
  _______________________________________)

         NON-PARTY PIPE HITTER FOUNDATION INC.’S MOTION TO QUASH
              SUBPOENA OR FOR ENTRY OF A PROTECTIVE ORDER

                                            Introduction

         Non-Party Pipe Hitter Foundation, Inc. (“Pipe Hitter”) respectfully moves this Court to

  quash the subpoena with which Plaintiffs have served it in the above-captioned case, insofar as the

  subpoena seeks testimony. See Subpoena to Testify at a Deposition in a Civil Action (Exh. 1). Pipe




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  Hitter has already provided objections and responses to the subpoena’s request for production and

  timely completed its production of documents, totaling 639 pages.

         Counsel for Pipe Hitter certifies that it conferred in good faith with Plaintiffs’ counsel in

  an attempt to resolve this motion and narrow the areas of disagreement. Plaintiffs’ counsel

  declined to consent to the requested relief.

         Plaintiffs’ counsel did not consent to Pipe Hitter’s request to submit this motion without a

  hearing pursuant to W.D. Va. L.Cv.R. 11(b).

         A brief and proposed order are attached.



  July 18, 2023

  Respectfully submitted,

  /s/ Dan Backer                                               /s/ Caitlin P. Contestable
  Dan Backer, Esq.                                             Caitlin P. Contestable, Esq.*
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  Fax: (202) 478-0750                                          Fax: (202) 478-0750
  Counsel for Non-Party Pipe                                   Counsel for Non-Party Pipe
  Hitter Foundation, Inc.                                      Hitter Foundation, Inc.

                                                               *Application for pro        hac   vice
                                                               admission forthcoming.




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